Case 1:20-cv-00706-DLC Document 8 Filed 01/28/20 Page Nae

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

FEDERAL TRADE COMMISSION
600 Pennsylvania Ave., NW
Washington, DC 20580

STATE OF NEW YORK
28 Liberty Street
New York, NY 10005

Plaintiffs,

v.

VYERA PHARMACEUTICALS, LLC,
600 Third Ave., 10" Floor
New York, NY 10016

PHOENIXUS AG,
Hadlenstrasse 5
6340 Baar, Switzerland

MARTIN SHKRELL, individually, as an
owner and former director of Phoenixus AG
and a former executive of Vyera
Pharmaceuticals, LLC,

FCI Allenwood Low

Federal Correctional Institution
P.O. Box 1000
White Deer, PA 17887

and

KEVIN MULLEADY, individually, as an
owner and director of Phoenixus AG and a

former executive of Vyera Pharmaceuticals,
LLC,

330 East 38" St., Apt. 54K
New York, NY 10016

Defendants.

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[Beopfésed] Order Granting Plaintiff Federal Trade Commission’s

Ex Parte Motion to File the Complaint Temporarily Under Seal

 
Case 1:20-cv-00706-DLC Document 8 Filed 01/28/20 Page 2 of 2

Plaintiff Federal Trade Commission (“FTC”), having moved ex parte for an Order
directing that the Complaint in this action be filed temporarily under seal, and for good cause
shown,

IT IS HEREBY ORDERED that the FTC’s Ex Parte Motion to File the Complaint
Temporarily Under Seal is GRANTED.

IT IS FURTHER ORDERED that

The FTC’s partially redacted Complaint is approved for filing on the public docket.

The FTC’s unredacted Complaint shall be sealed for twenty calendar days from the date
of this order to allow Defendants and relevant third parties an opportunity to seek a protective
order to seal permanently information in the Complaint.

If, upon expiration of this twenty-day period, no Defendant or third party has moved to
seal information contained in the Complaint, the Clerk of Court is directed to lift the temporary
seal and place the complete, unredacted Complaint on the public docket.

The FTC shall promptly provide Defendants and relevant third parties with notice that

this Order has been granted.

SO ORDERED:

/ Dated: / at de | [

~ United States District Judge

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